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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS



AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS,

AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS        HARVARD
FACULTY CHAPTER,

AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS AT NEW
YORK UNIVERSITY,
                                             CIVIL ACTION NO.
RUTGERS AMERICAN ASSOCIATION OF              25-10685-WGY
UNIVERSITY PROFESSORS-AMERICAN
FEDERATION OF TEACHERS, and

MIDDLE EAST STUDIES ASSOCIATION,

                     Plaintiffs,
          V.


MARCO RUBIO, in his official
capacity as Secretary of State,
and the DEPARTMENT OF STATE,

KRISTI NOEM, in her official
capacity as Secretary of Homeland
Security, and the
DEPARTMENT OF HOMELAND SECURITY,

TODD LYONS, in his official
capacity as Acting Director of
U.S. Immigration and
Customs Enforcement,

DONALD J. TRUMP, in his official
Capacity as President of
the United States, and

UNITED STATES OF AMERICA,

                     Defendants.
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YOUNG, D.J.                                                   June 27, 2025


                                  ORDER

     1.    The plaintiffs' motions for further discovery, ECF

Nos. 153 and 155, are DENIED in view of the defendants

representations concerning discovery already provided and to be

provided

     2.    Upon further reflection, no witness shall testify

anonymously in this case ,save upon a far more compelling

showing than alluded to thus far.

     There is altogether too much fear of our government abroad

in our land today.      Courts are part of government.          It is in the

dignified courtrooms of our nation that most precious aspect of

our First Amendment rights are hammered out .        All participants

in the trial process, be they litigants, witnesses , or

attorneys , are engaging in the central practice of the First

Amendment -- the right forma ll y to petition our government.

U.S. Const ., Arndt. l; Borough of Duryea, Pa. v. Guarnieri , 564

U.S. 379 , 387 (2011)    (" [T]he right of access to courts for

redress of wrongs is an aspect of the First Amendment right to

petition the government.")     ( quoting Sure-Tan, Inc. v. NLRB, 4 67

U.S. 883, 896-897    (1984)); Franchini v . Investor's Bus. Daily,

Inc., 981 F.3d 1, 8 (1st Cir. 2020).

                                      [ 2]
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     This is why those courageous law firms who stood up to

retribution were so swiftly and emphatically vindi c ated.           See

Perkins Coie LLP v. U.S. Dep't of Just., No. 25-CV-716, ---

F.Supp.3d -- --,        2025 WL 1276857, at *49 (D.D.C. May 2,

2025); Jenner & Block LLP v. U.S. Dep't of Just., No. 25-CV-916,

    F.Supp.3d                 2025 WL 1482021, at *26 (D.D.C. May

23, 2025); Wilmer Cutler Pickering Hale & Dorr LLP v. Exec. Off.

of President, No. 25-CV-917, --- F.Supp.3d

2025 WL 1502329, at *33-34     (D.D.C. May 27, 2025); Susman Godfrey

LLP v. Exec. Off. of President, No. CV 25-1107         (LLA), 2025 WL

1779830, at *l (D.D.C. June 27, 2025).

     This Court is a safe place.      The plaintiffs and their

witnesses may fully participate in the trial process without

fear of retribution knowing they are protected by this Court's

order.   Indeed, were there to be any violation traceable to any

of these defendants, it would prove the plaintiff's case.

Likewise, law enforcement officers testifying about enfo~cement

of the laws passed by the Congress of the United States will

receive the same courtesy and respect that has long been a

hallmark of this Court.      Any retribution from any quarter by

anyone will be met with the full rigor of the Court's resources.

     It is only when people believe that the civil court's are

faltering, not doing their job, that authoritarians rush in with

martial law.    See e.g. Ex parte Milligan, 71 U.S. 2 (1866).

                                      [3]
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     One of America's finest jurists, Circuit Judge Richard S.

Arnold of Arkansas, had this to say to fellow judges, "There has

to be a safe place.   We have to be it."

     For 235 years of continuous sittings, the United States

District Court for the District of Massachusetts has been that

"safe space."   We shall not falter.



 SO ORDERED.



                                            WILLIAM G.




                                     [4 l
